Case 2:19-cv-06906-VAP-GJS Document 12 Filed 08/16/19 Page 1of5 Page ID #:55

Name.and address:

Scott J. Sholder
Cowan, DeBaets, Abrahams & Sheppard LLP
41 Madison Avenue, 38th Floor
New York, NY 10010

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

TEAMLAB INC., a Japanese corporation CASE NUMBER
Plaintiff(s), 2:19-cv-06906
Vv.
MUSEUM OF DREAM SPACE, APPLICATION OF NON-RESIDENT ATTORNEY
LLC, a California limited liability company, et ano. TO APPEAR IN A SPECIFIC CASE
Defendant(s), PRO HAC VICE

 

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro.hac vice must complete Section I of this Application, personally sign, in ink, the certification in
Section II, and have the designated Local Counsel sign in Section II. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
days) from every state bar to. which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDE) file.

(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System (“Motions and Related Filings
=> Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing (using a credit card).
The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
denying the Application. Out-of-state federal government attorneys are not required to pay the $400 fee. (Certain attorneys for the
United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G-64 ORDER in
Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.

SECTION I - INFORMATION

Sholder, Scott J.

 

 

 

 

 

 

 

Applicant's Name (Last Name, First Name e& Middle Initial) check here if federal government attorney O
Cowan, DeBaets, Abrahams & Sheppard LLP

Firm/Agency Name

41 Madison Avenue 212-974-7474 212-974-8474

38th Floor Telephone Number Fax Number

Street Address

New York, NY, 10010 ssholder@cdas.com

City, State, Zip Code E-mail Address

I have been retained to represent the following parties:
teamLAB Inc. Plaintiff(s) [7] Defendant(s) [7] Other:
[7] Plaintiff(s) [7] Defendant(s) [~| Other:

 

Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

 

 

 

 

Name of Court Date of Admission Active Member in Good Standing? (if not, please explain)
New York March 20, 2008 Yes
New Jersey November 20,2007. Yes
Southern District of New York January 5,.2019 Yes

 

 

G-64 (11/18) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 1 of 3
Case 2:19-cv-06906-VAP-GJS Document 12 Filed 08/16/19 Page 2o0f5 Page ID #:56

 

List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

Case Number Title of Action Date of Application Granted / Denied?

 

 

 

 

 

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

 

 

 

 

 

 

Has the applicant previously registered as a CM/ECF user in the Central District of California? ["] Yes No

 

If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above? [7] Yes f] No

 

Previous E-mail Used (if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF"} System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an

Order granting your Application, you will either be issued. a new CM/ECF login and password, or the existing account you identified above
will be associated with your case.

SECTION If - CERTIFICATION

I declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) Lam not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
professional, or other activities. in the State of California.

(3) Iam not currently suspended from and have never been disbarred from practice in any court.

(4) Iam familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
and the Federal Rules of Evidence.

(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and

maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
Rule 83-2.1.3.4.

Dated 08/16/2019 Scott J. Sholder

in Name Ths; ee

Applicaxt’s i LA hv

 

 

 

G-64 (11/18) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 2 of 3
Case 2:19-cv-06906-VAP-GJS Document 12 Filed 08/16/19 Page 30f5 Page ID #:57

 

SECTION III - DESIGNATION OF LOCAL COUNSEL
Wolff, Nancy E.

Designee's Name (Last Name, First Name & Middle Initial)
Cowan, DeBaets, Abrahams & Sheppard LLP

 

 

 

 

 

 

Firm/Agency Name
9595 Wilshire Blvd. 310-492-4392 310-300-8401
Telephone Number Fax Number
Street Address nwolff@cdas.com
E-mail Address
City, State, Zip Code 133334

 

Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.

Dated 08/16/2019 Nancy E. Wolff

MW pi (please type or EN LY

Designee’s woof WM
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSAR

Additional Court Admissions:

Eastern District of New York (January 20, 2010)

United States District Court for the District of New Jersey (December 3, 2007)
United States Court of Appeals for the Second Circuit (November 30, 2016)
United States Court of Appeals for the Third Circuit (November 20, 2008)
United States Court of Appeals for the Fourth Circuit (May 8, 2015)

 

 

 

 

 

 

G-64 (11/18) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 3 of 3

 
Case 2:19-cv-06906-VAP-GJS Document 12 Filed 08/16/19 Page 4of5 Page ID #:58

Supreme Court of Pew Hersey

 

Certificate of Good Standing

This is to certify that | SCOTT JSHOLDER
(No. 016092007 ) was constituted and appointed an Attorney at Law of New
Jersey on November 20, 2007 and, as such,
has been admitted to practice before the Supreme Court and all other courts of this State
as an Attorney at Law, according to its laws, rules, and customs.

I further certify that as of this date, the above-named is an Attorney at Law in
Good Standing. For the purpose of this Certificate, an attorney is in “Good Standing” if
the Court’s records reflect that the attorney: 1)is current with all assessments imposed as a
part of the filing of the annual Attorney Registration Statement, including, but not
limited to, all obligations to the New Jersey Lawyers’ Fund for Cent Protection; 2)is not
suspended or disbarred from the practice of law; 3) has not resigned from the Bar of this
State; and 4) has not been transferred to Disability Inactive status pursuant to Rule 1:20-
dZ,

Please note that this Certificate does not constitute confirmation of an attorney's
satisfaction of the administrative requirements of Rule 1:21-1(a) for eligibility to practice
law in this State.

In testimony whereof, I have

hereunto set my hand and
affixed the Seal of the

Supreme Court, at Trenton, this
13TH day of August » 20 19°

 

Clerk of “ef Sypreme Court

-453a-

 
Case 2:19-cv-06906-VAP-GJS Document 12 Filed 08/16/19 Page 5of5 Page ID #:59

 

State fr ‘New York
Supreme Court, Appellate Division
Third, Sudicial Department

JF, Robert D. Mayberger, Clerk of the Appellate Division of the
Supreme Court of lhe State of New York, Third Sudicial Department, do
Le ereby certify that

Scott Yonathan Sholder

having taken and subscribed the Constitutional Oath of Office as prescribed by
law, was duly Licensed and admitted to practice by this Court as an Attorney
and Counselor at Law in all courts of the State of New York on the 20th day of
March, 2008, is currently mM good, standing and ts registered with the
Administrative Office of the Courts as required. by section four hundred, sixly~
erght-a of the Judiciary Law.

In Witness Whereof, T have hereunto set my Land
and, affixed the Seal of. said Court, at the
City of Albany, this 171& day of, Saly, 2019.

 
